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                            EXHIBIT B-1
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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA


                                  CASE NO.: 17-24624-CIV-COOKE


    SECURITIES AND EXCHANGE COMMISSION,

                                          Plaintiff,

    V.



    ROBERT H.SHAPIRO,
    WOODBRIDGE GROUP OF COMPANIES,LLC,
    d/b/a WOODBRIDGE WEALTH,et al..

                                          Defendants.




                        CONSENT OF DEFENDANT ROBERT H.SHAPIRO

              1.   Defendant Robert H. Shapiro ("Defendant") acknowledges having been served

    with the amended complaint in this action, enters a general appearance, and admits the Court's

    jurisdiction over Defendant and over the subject matter of this action.

              2.   Without admitting or denying the allegations of the amended complaint (except as

    provided herein in paragraph 13 and except as to personal and subject matter jurisdiction, which

    Defendant admits), Defendant hereby consents to the entry of the Final Judgment in the form

    attached hereto (the "Final Judgment") and incorporated by reference herein, which, among other

    things:

                   (a) Permanently restrains and enjoins Defendant from violation of

                              (1) Section 5 ofthe Securities Act of 1933("Securities Act")[15 U.S.C.

                                  §§ 77e{a) and 77e(c))];

                              (ii) Section 17(a) of the Securities Act[15 U.S.C. §77q(a)];
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                             (iii) Section 10(b) of the Securities Exchange Act of 1934 ("Exchange

                              Act") and Rule lOb-5 thereunder [15 U.S.C. § 78j{b) and 17 C.F.R.

                              §§240.10b-5];

                             (iv) Section 20(a) of the Exchange Act[15 U.S.C. § 78t(a)]; and

                             (v) Aiding and abetting violations ofSection 15(a)ofthe Exchange Act;

                  (b) orders Defendant to pay disgorgement in the amount of $18,546,643, plus

                      prejudgment interest thereon in the amount of $2,163,613.69;

                  (c) orders Defendant to pay a civil penalty of $100,000,000; and orders Defendant

                      to relinquish any and all right, title, ownership and interest in RS Protection

                      Trust,and its assets, by executing any and all documents necessary to relinquish

                      such right, title, ownership and interest and assets to the entity or entities which

                      are deblor(s) in the matter ofIn Re Woodbridge Group ofCompanies. LLC, el

                      ai, Case No. 17-12560-KJC (D. DE)(Jointly Administered) ("Bankruptcy

                      Case"), as designated by the Commission ("Debtor Designee(s)").

           3.     Disgorgement and prejudgment interest, and the civil monetary penalty, as detailed

    in paragraphs 2.b. and 2.c. above, shall be paid within 14 days of entry of the Final Judgment.

    Defendant may transmit payment electronically to the Commission, which will provide detailed

    ACH transfer/Fedwire instructions upon request. Payment may also be made directly from a bank

    account via Pay.gov through the SEC website at http://www.sec.gov/about/offices/ofm.htm.

    Defendant may also pay by certified check, bank cashier's check, or United States postal money

    order payable to the Securities and Exchange Commission, which shall be delivered or mailed to

           Enterprise Services Center
           Accounts Receivable Branch
           6500 South MacArthur Boulevard
           Oklahoma City, OK 73169


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    and shall be accompanied by a letter identifying the case title, civil action number, and name of

    this Court; Shapiro as Defendant in this action; and specifying that payment is made pursuant to

    this Final Judgment.

           Defendant shall simultaneously transmit photocopies of evidence of payment and case

    identifying information to the Commission's counsel in this action. By making this payment.

    Defendant relinquishes all legal and equitable right, title, and interest in such funds and no part of

    the funds shall be returned to Defendant.


           The Commission may enforce the Court's judgment for disgorgement and prejudgment

    interest by moving for civil contempt (and/or through other collection procedures authorized by

    law) at any time affer 14 days following entry of this Final Judgment. Defendant shall pay post

    judgment interest on any delinquent amounts pursuant to 28 U.S.C. § 1961.

           4.      Defendant acknowledges that the disgorgement, prejudgment interest, and civil

    penalty paid pursuant to the Final Judgment may be distributed pursuant to the Fair Fund

    provisions of Section 308(a)of the Sarbanes-Oxley Act of 2002. Regardless of whether any such

    Fair Fund distribution is made,the civil penalty shall be treated as a penalty paid to the government

    for all purposes, including all tax purposes. To preserve the deterrent efTect of the civil penalty.

    Defendant agrees that he shall not, after offset or reduction ofany award ofcompensatory damages

    in any Related Investor Action based on Defendant's payment ofdisgorgement in this action, argue

    that he is entitled to, nor shall he further benefit by. otTset or reduction of such compensatory

    damages award by the amount of any part of Defendant's payment of a civil penalty in this action

    ("Penalty Offset"), if the court in any Related Investor Action grants such a Penalty Offset,

    Defendant agrees that he shall, within 30 days after entry of a final order granting the Penalty

    Offset, notify the Commission's counsel in this action and pay the amount of the Penalty Offset to


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    the United States Treasury or to a Fair Fund, as the Commission directs. Such a payment shall not

    be deemed an additional civil penalty and shall not be deemed to change the amount of the civil

    penalty imposed in this action. For purposes of this paragraph, a "Related Investor Action" means

    a private damages action brought against Defendant by or on behalfofone or more investors based

    on substantially the same facts as alleged in the Complaint in this action.

           5.      Defendant agrees that he shall not seek or accept, directly or indirectly,

    reimbursement or indemnification from any source, including but not limited to pa>'ment made

    pursuant to any insurance policy, with regard to any civil penalty amounts that Defendant pays

    pursuant to the Final Judgment, regardless of whether such penalty amounts or any part thereof

    are added to a distribution fund or otherwise used for the benefit of investors. Defendant further

    agrees that he shall not claim, assert, or apply for a tax deduction or tax credit with regard to any

    federal, state, or local tax for any penalty amounts that Defendant pays pursuant to the Final

    Judgment, regardless of whether such penalty amounts or any part thereof are added to a

    distribution fund or otherwise used for the benefit of investors.

           6.      Defendant waives the entry of findings of fact and conclusions of law pursuant to

    Rule 52 of the Federal Rules of Civil Procedure.


           7.      Defendant waives the right, if any, to a jury trial and to appeal from the entry of

    the Final Judgment.

           8.      Defendant enters into this Consent voluntarily and represents that no threats, offers,

    promises, or inducements of any kind have been made by the Commission or any member,officer,

    employee, agent, or representative of the Commission to induce Defendant to enter into this

    Consent.


           9.      Defendant agrees that this Consent shall be incorporated into the Final Judgment



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     with the same force and effect as if fully set forth therein.

             10.     Defendant will not oppose the enforcement ofthe Final Judgment on the ground, if

    any exists, that it fails to comply with Rule 65(d) of the Federal Rules of Civil Procedure, and

    hereby waives any objection based thereon.

             11.     Defendant waives service of the Final Judgment and agrees that entry of the Final

    Judgment by the Court and filing with the Clerk of the Court will constitute notice to Defendant

    of its terms and conditions. Defendant further agrees to provide counsel for the Commission,

    within thirty days after the Final Judgment is filed with the Clerk of the Court, with an affidavit or

    declaration stating that Defendant has received and read a copy of the Final Judgment.

            12.      Consistent with 17 C.F.R. 202.5(f), this Consent resolves only the claims asserted

    against Defendant in this civil proceeding.          Defendant acknowledges that no promise or

    representation has been made by the Commission or any member, olllcer, employee, agent, or

    representative ofthe Commission with regard to any criminal liability that may have arisen or may

    arise from the facts underlying this action or immunity from any such criminal liability. Defendant

    waives any claim of Double Jeopardy based upon the settlement of this proceeding, including the

    imposition ofany remedy or civil penalty herein. Defendant further acknowledges that the Court's

    entry of a permanent injunction may have collateral consequences under federal or state law and

    the rules and regulations of self-regulatory organizations, licensing boards, and other regulatory

    organizations.     Such collateral consequences include, but are not limited to, a statutory

    disqualification with respect to membership or participation in, or association with a member of,

    a self-regulatory organization. This statutory disqualification has consequences that are separate

    from any sanction imposed in an administrative proceeding. In addition, in any disciplinary

    proceeding before the Commission based on the entry of the injunction in this action, Defendant



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    understands that he shall not be permitted to contest the factual allegations of the amended

    complaint in this action.

           13.     Defendant understands and agrees to comply with the terms of 17 C.F.R.

    § 202.5(e), which provides in part that it is the Commission's policy "not to permit a defendant or

    respondent to consent to a judgment or order that imposes a sanction while denying the allegations

    in the complaint or order for proceedings," and "a refusal to admit the allegations is equivalent to

    a denial, unless the defendant or respondent states that he neither admits nor denies the

    allegations." As part of Defendant's agreement to comply with the terms of Section 202.5(e),

    Defendant:(i) will not take any action or make or permit to be made any public statement denying,

    directly or indirectly, any allegation in the amended complaint or creating the impression that the

    amended complaint is without factual basis; (ii) will not make or permit to be made any public

    statement to the effect that Defendant does not admit the allegations of the amended complaint, or

    that this Consent contains no admission ofthe allegations, without also stating that Defendant does

    not deny the allegations; (iii) upon the filing of this Consent, Defendant hereby withdraws any

    papers filed in this action to the extent that they deny any allegation in the amended complaint;

    and (iv) stipulates solely for purposes of exceptions to discharge set forth in Section 523 of the

    Bankruptcy Code, 11 U.S.C. §523, that the allegations in the amended complaint are true, and

    further, that any debt for disgorgement, prejudgment interest, civil penalty or other amounts due

    by Defendant under the Final Judgment or any other Judgment, order, consent order, decree or

    settlement agreement entered in connection with this proceeding, is a debt for the violation by

    Defendant of the federal securities laws or any regulation or order issued under such laws, as set

    forth in Section 523(a)(l9)ofthe Bankruptcy Code, 11 U.S.C. §523(a)(l9). If Defendant breaches

    this agreement, the Commission may petition the Court to vacate the Final Judgment and restore



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    this action to its active docket. Nothing in this paragraph affects Defendant's; (i) testimonial

    obligations; or (il) right to take legal or factual positions in litigation or other legal proceedings in

    which the Commission is not a party.

              14.    Defendant hereby waives any rights under the Equal Access to Justice Act, the

    Small Business Regulatory Enforcement Fairness Act of 1996, or any other provision of law to

    seek from the United States, or any agency, or any official ofthe United States acting in his or her

    official capacity, directly or indirectly, reimbursement of attorney's fees or other fees, expenses,

    or costs expended by Defendant to defend against this action. For these purposes, Defendant

    agrees that Defendant is not the prevailing party in this action since the parties have reached a

    good faith settlement.

              15.    Defendant agrees that the Commission may present the Final Judgment to the Co^'

    for signature and entry without further notice.

              16.     Defendant agrees that this Court shall retain jurisdiction over tlji^matter for the

    purpose of enforcing the terms of the Final Judgment, j

         i:
    Dated:                                                           1::^
                                                         Robert H. Shapiro
    STATE OF /Si                                    )                        A notary public or othw offlcor completing thii
                                                                             certificate verifies only the Identity of the
                                                    )    ss*                 indMdual who sls"ed the document W
    COUNTY OF Ui§:                                  )                        certificate Is attached, and not the truthfulness,
                                                                             accurancy. or validity ol that document
              On this M^day of                                  2018, before me ^rsonally appeared Robert
    H. Shapiro, who [check one'}( )is personally known to me, or( ^produced a
    driver's license bearing his name and photograph as identification, and who executed this Consent,
    and acknowledged to me that he executed the same.


                     JONATHAN A^EAGa" * i
                    ^o'^'"'ssion» 224i79i
                                              fjr       Notary Public
                                                        CommissiouExpiresi
                         E»pifts May 12, 2022 ft


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      Approved as to form:



              wight 'Quinn, Esq .
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      Telephone: 305.423.8500
      Attorney for Defendant




      {Robert H. Shapiro - Consent to Final Judgment}




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